     Case 2:18-cv-09531-JLS-DFM Document 1 Filed 11/09/18 Page 1 of 13 Page ID #:1



 1   Mark W. Bucher
 2
     mark@calpolicycenter.org
     CA S.B.N. # 210474
 3   Law Office of Mark W. Bucher
 4
     18002 Irvine Blvd., Suite 108
     Tustin, CA 92780-3321
 5   Phone: 714-313-3706
 6   Fax: 714-573-2297

 7   Brian Kelsey (Pro Hac Vice To Be Filed)
 8   bkelsey@libertyjusticecenter.org
     Jeffrey M. Schwab (Pro Hac Vice To Be Filed)
 9   jschwab@libertyjusticecenter.org
10   Senior Attorneys
     Liberty Justice Center
11   190 South LaSalle Street
12   Suite 1500
     Chicago, Illinois 60603
13   Phone: 312-263-7668
14   Fax: 312-263-7702

15   Attorneys for Plaintiff
16

17
                               UNITED STATES DISTRICT COURT

18
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

19
     Thomas Few,                                    Case No.
20
                       Plaintiff
21
                                                    COMPLAINT SEEKING
22   v.                                             DECLARATORY RELIEF,
                                                    INJUNCTIVE RELIEF, AND
23
   United Teachers of Los Angeles; Los              DAMAGES FOR DEPRIVATION OF
24 Angeles Unified School District; Xavier          FIRST AMENDMENT RIGHTS
   Becerra, in his official capacity as Attorney
25
   General of California,
26
                      Defendants.
27

28

30        Case No.                              1
          COMPLAINT SEEKING DECLARATORY RELIEF, INJUNCTIVE RELIEF, AND DAMAGES FOR
31        DEPRIVATION OF FIRST AMENDMENT RIGHTS
     Case 2:18-cv-09531-JLS-DFM Document 1 Filed 11/09/18 Page 2 of 13 Page ID #:2



 1                                       INTRODUCTION
 2          1.     Government employees have a First Amendment right not to be compelled by
 3   their employer to join a union or to pay any fees to that union unless an employee
 4   “affirmatively consents” to waive that right. Janus v. AFSCME, 138 S. Ct. 2448, 2486
 5   (2018). Such a waiver must be “freely given and shown by ‘clear and compelling’
 6   evidence.” Id.
 7          2.     Union dues deduction agreements signed in jurisdictions that required agency
 8   fees to be paid by non-union members before the Supreme Court’s decision in Janus are no
 9   longer enforceable because employees who signed such agreements could not have waived
10   their right to not join or pay a union freely because the Supreme Court had not yet
11   recognized that right. Such employees must be freely given the choice either to join the
12   union or not to join the union without paying agency fees to subsidize union advocacy.
13          3.     Plaintiff, Thomas Few, is a special education teacher employed by Defendant
14   Los Angeles Unified School District (“LAUSD”). Prior to the Supreme Court’s decision in
15   Janus on June 27, 2018, Mr. Few was a union member of Defendant United Teachers of
16   Los Angeles (“UTLA”).
17          4.     UTLA is violating Mr. Few’s First Amendment rights to free speech and
18   freedom of association by refusing to allow him to withdraw his membership and by
19   continuing to charge him union dues based solely on a union card Mr. Few signed before
20   the Janus decision, which is now unenforceable.
21          5.     LAUSD is violating Mr. Few’s First Amendment rights to free speech and
22   freedom of association by continuing to withhold union dues from his paycheck, and, on
23   information and belief, is transmitting those funds to Defendant UTLA, despite not having
24   received freely given affirmative consent from Mr. Few to do so.
25          6.     The State of California is violating Mr. Few’s First Amendment rights to free
26   speech and freedom of association through its laws that authorize public schools to require
27   employees to associate with labor unions and to require that those unions be the “exclusive
28   representative” of all employees. Cal. Gov’t Code §§ 3543, 3543.1.
        Case No.                                2
30
        COMPLAINT SEEKING DECLARATORY RELIEF, INJUNCTIVE RELIEF, AND DAMAGES FOR
        DEPRIVATION OF FIRST AMENDMENT RIGHTS
31
     Case 2:18-cv-09531-JLS-DFM Document 1 Filed 11/09/18 Page 3 of 13 Page ID #:3



 1          7.     Mr. Few, therefore, brings this case under 42 U.S.C § 1983, seeking
 2   declaratory and injunctive relief, as well as damages in the amount of the dues previously
 3   deducted from his paychecks.
 4                                            PARTIES
 5          8.     Plaintiff, Thomas Few, is a special education teacher employed by Defendant
 6   Los Angeles Unified School District. He resides in Ventura County, California.
 7          9.     Defendant United Teachers of Los Angeles is a labor union headquartered at
 8   3303 Wilshire Boulevard, 10th Floor, Los Angeles, California, 90010 in Los Angeles
 9   County.
10          10.    Defendant Los Angeles Unified School District is a public school system
11   headquartered at 333 South Beaudry Avenue, Los Angeles, California, 90017 in Los
12   Angeles County.
13          11.    Attorney General Xavier Becerra is sued in his official capacity as the
14   representative of the State of California charged with the enforcement of state laws,
15   including the provisions challenged in this case. His address for service of process is 300
16   South Spring Street, Los Angeles, California, 90013 in Los Angeles County.
17                                JURISDICTION AND VENUE
18          12.    This case raises claims under the First and Fourteenth Amendments of the U.S.
19   Constitution and 42 U.S.C. § 1983. The Court has subject-matter jurisdiction under 28
20   U.S.C. § 1331 and 28 U.S.C. § 1343.
21          13.    Venue is proper because a substantial portion of the events giving rise to the
22   claims occurred in the Central District of California. 28 U.S.C. 1391(b)(2).
23                                             FACTS
24          14.    Plaintiff, Thomas Few, has been a special education teacher in the Los Angeles
25   Unified School District since August 2016.
26          15.    Mr. Few began work for LAUSD at Monroe High School. Due to low
27   enrollment at Monroe High School, Mr. Few became a special education teacher at
28
        Case No.                                3
30
        COMPLAINT SEEKING DECLARATORY RELIEF, INJUNCTIVE RELIEF, AND DAMAGES FOR
        DEPRIVATION OF FIRST AMENDMENT RIGHTS
31
     Case 2:18-cv-09531-JLS-DFM Document 1 Filed 11/09/18 Page 4 of 13 Page ID #:4



 1   Francisco Sepulveda Middle School in LAUSD in September 2016, where he currently
 2   works.
 3            16.   When Mr. Few began his employment with LAUSD in August 2016, he joined
 4   UTLA. LAUSD allowed the union meeting to be held in a public school classroom with
 5   several new teachers present and watching, all of whom were informed by multiple UTLA
 6   representatives to join the union. When he joined UTLA, neither UTLA nor LAUSD
 7   informed him that he had the right not to join the union.
 8            17.   On February 13, 2018, Mr. Few was again offered and signed a union
 9   membership card. Once again, he was not informed by UTLA or LAUSD of his right not
10   to join the union.
11            18.   Later in 2018, Mr. Few learned that he had a legal right not to be a union
12   member and to pay agency fees instead of full union dues. On or about June 2, 2018, Mr.
13   Few sent a letter to the union asking to resign his membership and to become an agency fee
14   payer.
15            19.   On June 27, 2018, the Supreme Court issued its decision in the Janus case.
16            20.   On July 13, 2018, UTLA responded to Mr. Few’s resignation letter by rejecting
17   it. UTLA stated that Mr. Few could not resign from the union until his resignation window,
18   which was “not less than thirty (30) days and not more than sixty (60) days before” the
19   anniversary of his union membership on February 13.
20            21.   After the Supreme Court issued its decision in Janus, Mr. Few learned that he
21   had the right both not to be a member of the union and not to pay any money to the union.
22   Mr. Few submitted a second resignation letter to UTLA on August 3, 2018, but UTLA did
23   not bother to respond to Mr. Few’s second letter.
24            22.   Mr. Few also sent a copy of the August 3, 2018 letter to LAUSD, but he did
25   not receive a response from LAUSD either.
26            23.   On or about October 10, 2018, Mr. Few submitted a third letter to UTLA,
27   explaining that the union agreement he had signed in February 2018 was invalid after the
28   Supreme Court’s decision in Janus. Mr. Few requested, once again, to resign from the union
        Case No.                                 4
30
        COMPLAINT SEEKING DECLARATORY RELIEF, INJUNCTIVE RELIEF, AND DAMAGES FOR
        DEPRIVATION OF FIRST AMENDMENT RIGHTS
31
     Case 2:18-cv-09531-JLS-DFM Document 1 Filed 11/09/18 Page 5 of 13 Page ID #:5



 1   and stop having its dues deducted from his paycheck. He pleaded that he may have to resort
 2   to legal action to uphold his constitutional rights, but his third letter was also denied because
 3   it was not received within the resignation window.
 4          24.    LAUSD has deducted dues of approximately eighty-six dollars ($86) per
 5   month from Mr. Few’s paychecks since he began employment in August 2016 and has
 6   remitted those dues to UTLA. LAUSD continues to deduct those dues, despite Mr. Few’s
 7   repeated requests that it be stopped.
 8          25.    Under California law, unions that wish to represent public school employees
 9   need only submit a request for recognition based on union membership cards signed by a
10   simple majority of the relevant bargaining unit. Employers may not question whether the
11   union legitimately represents the will of the employees. Cal. Gov’t Code § 3544.1.
12          26.    Under California law, a secret ballot election is required only when multiple
13   unions claim to represent the bargaining unit. Cal. Gov’t Code § 3544.7. To qualify for the
14   ballot, a union must have union cards signed by 30 percent of the bargaining unit. Cal. Gov’t
15   Code 3544.1(b).
16          27.    Once the exclusive representative is certified, only that union “may represent
17   that unit in their employment relations with the public school employer.” Cal. Gov’t Code
18   § 3543.1(a). An employee of the school district “shall not meet and negotiate with the public
19   school employer.” Cal. Gov't Code § 3543.The union then has the exclusive right to
20   represent the employees as to “wages, hours of employment, and other terms and conditions
21   of employment.” Cal. Gov’t Code § 3543.2(a)(1).
22          28.    The union’s exclusive right to represent employees is not limited only to
23   matters of employment but also expressly includes the right “to consult on the definition of
24   educational objectives, the determination of the content of courses and curriculum, and the
25   selection of textbooks.” Cal. Gov’t Code § 3543.2(3).
26          29.    Certified unions even have the right to access the workplace and use the
27   employer’s internal communications facilities to speak directly with employees. Cal. Gov’t
28   Code § 3543.1(b).
        Case No.                                  5
30
        COMPLAINT SEEKING DECLARATORY RELIEF, INJUNCTIVE RELIEF, AND DAMAGES FOR
        DEPRIVATION OF FIRST AMENDMENT RIGHTS
31
     Case 2:18-cv-09531-JLS-DFM Document 1 Filed 11/09/18 Page 6 of 13 Page ID #:6



 1          30.      Once a union has been certified, an employee, whether he agrees with the
 2   union’s positions or not, “shall, as a condition of continued employment, be required either
 3   to join the recognized employee organization or pay the fair share service fee.” Cal. Gov’t
 4   Code § 3546.
 5          31.      School districts must deduct dues from the paychecks of employees who have
 6   signed a written authorization and must remit those funds to the union. Cal. Gov’t Code §
 7   3543.1; Cal. Educ. Code §§ 45060 and 45168. A revocation of an employee’s written
 8   authorization “shall be in writing and shall be effective provided the revocation complies
 9   with the terms of the written authorization.” Cal. Educ. Code § 45060(a). Employee
10   requests to cancel or change their dues deductions are to be directed to the union rather than
11   the employer. Cal. Educ. Code §45060(e). Employers are instructed to rely on the union to
12   determine which employees have authorized the deduction of dues and which have not. Id.
13                                             COUNT I
14
                     By refusing to allow Mr. Few to withdraw from the union and
                   continuing to deduct his dues, LAUSD and UTLA are violating his
15                 First Amendment rights to free speech and freedom of association.
16
            32.      The allegations contained in all preceding paragraphs are incorporated herein
17
     by reference.
18
            33.      Forcing a government employee to join a union or even to pay fees to a union
19
     violates that employee’s First Amendment rights to free speech and freedom of association
20
     unless the employee “affirmatively consents” to waive the rights. Janus v. AFSCME, 138
21
     S. Ct. 2448, 2486 (2018). Such a waiver must be “freely given and shown by ‘clear and
22
     compelling’ evidence.” Id.
23
            34.      The rights to free speech and freedom of association in the First Amendment
24
     have been incorporated to and made enforceable against the states through the Fourteenth
25
     Amendment guarantee of Due Process. Id. at 2463; NAACP v. Alabama, 357 U.S. 449
26
     (1958); Gitlow v. New York, 268 U.S. 652 (1925).
27

28
        Case No.                                  6
30
        COMPLAINT SEEKING DECLARATORY RELIEF, INJUNCTIVE RELIEF, AND DAMAGES FOR
        DEPRIVATION OF FIRST AMENDMENT RIGHTS
31
     Case 2:18-cv-09531-JLS-DFM Document 1 Filed 11/09/18 Page 7 of 13 Page ID #:7



 1          35.      42 U.S.C. 1983 provides a cause of action for both damages and injunctive
 2   relief against any person who, under color of law of any state, subjects any person within
 3   the jurisdiction of the United States to a deprivation of any rights, privileges, or immunities
 4   secured by the Constitution.
 5          36.      Mr. Few does not affirmatively consent to remaining a member of UTLA or
 6   to his union dues being withheld by LAUSD.
 7          37.      LAUSD is a state entity that is deducting dues from Mr. Few’s paycheck under
 8   color of state law.
 9          38.      UTLA is acting in concert with LAUSD to collect union dues from Mr. Few’s
10   paycheck without his consent and refuses to withdraw his union membership. In doing so,
11   UTLA is acting under color of state law. UTLA is acting pursuant to an exclusive collective
12   bargaining agreement negotiated with a state entity, is following the laws of the State of
13   California in doing so, and is utilizing the state payroll system to exact its dues.
14          39.      UTLA and LAUSD have limited withdrawal from the union to an arbitrary 30-
15   day period per year and insist that Mr. Few can only exercise his First Amendment rights
16   at that time.
17          40.      The actions of UTLA and LAUSD constitute a violation of Mr. Few’s First
18   Amendment rights to free speech and freedom of association not to join or financially
19   support a union without his affirmative consent.
20          41.      From August 2016 to February 13, 2018, because he was not given the option
21   of paying nothing to the union as a non-member of the union, Mr. Few could not have
22   provided affirmative consent to UTLA or LAUSD to have union dues deducted from his
23   paycheck.
24          42.      From February 13, 2018 until he requested to be removed from the union on
25   June 2, 2018, Mr. Few’s consent to dues collection was not “freely given” because it was
26   given based on an unconstitutional choice between union membership or the payment of
27   union agency fees without the benefit of membership. Janus, 138 S. Ct. at 2486.
28
        Case No.                                  7
30
        COMPLAINT SEEKING DECLARATORY RELIEF, INJUNCTIVE RELIEF, AND DAMAGES FOR
        DEPRIVATION OF FIRST AMENDMENT RIGHTS
31
     Case 2:18-cv-09531-JLS-DFM Document 1 Filed 11/09/18 Page 8 of 13 Page ID #:8



 1          43.    If Mr. Few’s choice had been between paying eighty-six dollars a month in
 2   union dues or paying nothing, he would have chosen to pay nothing. Instead, Mr. Few was
 3   given the choice to pay eighty-six dollars a month in union dues or pay three quarters of
 4   that amount in union agency fees without receiving the benefits of the union. Janus made
 5   clear that this false dichotomy is unconstitutional. Id. Therefore, Mr. Few’s consent, which
 6   was compelled by the false information given to him, was not given freely.
 7          44.    From June 2, 2018, when Mr. Few expressly requested removal from the
 8   union, until now, Mr. Few clearly has not affirmatively consented to being a member of
 9   UTLA.
10          45.    Cal. Gov’t Code § 3543.1 and Cal. Educ. Code §§ 45060 and 45168 give the
11   union the authority to set the terms by which employees may join or withdraw from union
12   membership. They permit union presentations at new employee orientations, implying that
13   union membership is sanctioned by the school district. Under the color of this state law,
14   UTLA has imposed an unconstitutional requirement that Mr. Few continue to pay
15   membership dues unless he withdraws during a 30-day window set by the union.
16          46.    The deduction of dues and the setting of the opt-out schedule by the union
17   under Cal. Educ. Code §§ 45060 and 45168 are, therefore, an unconstitutional abridgement
18   of Mr. Few’s right under the First Amendment not to be compelled to associate with
19   speakers and organizations without his consent.
20          47.    Under 42 U.S.C. § 1983, Mr. Few is entitled to have Cal. Gov’t Code § 3543.1
21   and Cal. Educ. Code §§ 45060 and 45168 declared unconstitutional for violating his First
22   Amendment rights to free speech and freedom of association
23          48.    Mr. Few is entitled to an injunction under 42 U.S.C. § 1983 ordering UTLA
24   immediately to withdraw his union membership.
25          49.    Mr. Few is entitled to an injunction under 42 U.S.C. § 1983 ordering LAUSD
26   and UTLA immediately to stop deducting union dues from his paycheck.
27

28
        Case No.                                8
30
        COMPLAINT SEEKING DECLARATORY RELIEF, INJUNCTIVE RELIEF, AND DAMAGES FOR
        DEPRIVATION OF FIRST AMENDMENT RIGHTS
31
     Case 2:18-cv-09531-JLS-DFM Document 1 Filed 11/09/18 Page 9 of 13 Page ID #:9



 1          50.    Mr. Few is entitled under 42 U.S.C. § 1983 to damages in the amount of all
 2   dues deducted and remitted to UTLA since the commencement of his employment in
 3   August 2016.
 4          51.    In the alternative, Mr. Few is entitled under 42 U.S.C. § 1983 to damages in
 5   the amount of all dues deducted and remitted to UTLA since he sent a letter to the union
 6   asking to resign his membership and to become an agency fee payer on June 2, 2018.
 7          52.    In the alternative, Mr. Few is entitled under 42 U.S.C. § 1983 to damages in
 8   the amount of all dues deducted and remitted to UTLA since the ruling in Janus on June
 9   27, 2018.
10                                        COUNT II
11
              The state law forcing Mr. Few to continue to associate with UTLA
          without his affirmative consent violates Mr. Few’s First Amendment rights
12             to free speech and freedom of association and 42 U.S.C. § 1983.
13
            53.    The allegations contained in all preceding paragraphs are incorporated herein
14
     by reference.
15
            54.    “Compelling individuals to mouth support for views they find objectionable
16
     violates that cardinal constitutional command, and in most contexts, any such effort would
17
     be universally condemned.” Janus, 138 S. Ct. at 2463.
18
            55.    For this reason, the Supreme Court has repeatedly affirmed that "[f]orcing free
19
     and independent individuals to endorse ideas they find objectionable is always demeaning
20
     . . . a law commanding “involuntary affirmation” of objected-to beliefs would require “even
21
     more immediate and urgent grounds” than a law demanding silence.” Janus, 138 S. Ct. at
22
     2464 (2018) (quoting West Virginia Bd. of Ed. v. Barnette, 319 U. S. 624, 633 (1943)).
23
            56.    Therefore, courts should scrutinize compelled associations strictly, because
24
     “mandatory associations are permissible only when they serve a compelling state interest
25
     that cannot be achieved through means significantly less restrictive of associational
26
     freedoms." Knox v. SEIU, 567 U.S. 298, 310 (quoting Roberts v. United States Jaycees, 468
27
     U.S. 609, 623 (1984)) (internal quotation marks omitted).
28
        Case No.                                 9
30
        COMPLAINT SEEKING DECLARATORY RELIEF, INJUNCTIVE RELIEF, AND DAMAGES FOR
        DEPRIVATION OF FIRST AMENDMENT RIGHTS
31
     Case 2:18-cv-09531-JLS-DFM Document 1 Filed 11/09/18 Page 10 of 13 Page ID #:10



 1            57.   In the context of public sector unions, the Supreme Court has likewise
 2    recognized that “[d]esignating a union as the employees' exclusive representative
 3    substantially restricts the rights of individual employees. Among other things, this
 4    designation means that individual employees may not be represented by any agent other
 5    than the designated union; nor may individual employees negotiate directly with their
 6    employer.” Janus, 138 S. Ct. at 2460
 7            58.   California law expressly grants the union the right to speak on Mr. Few’s
 8    behalf on matters of serious public concern, including the salaries and benefits received by
 9    school teachers, how school districts should deal with financial challenges, whether or not
10    merit-based pay would improve educational outcomes for California’s children, and even
11    what curriculum those children should be taught. Cal. Gov’t Code § 3543.2. These topics
12    are inherently political questions in the context of public sector unions. Janus, 138 S. Ct.
13    2473.
14            59.   The State of California, through Cal. Gov’t Code §§ 3543 and 3543.1, has
15    authorized LAUSD to designate UTLA as Mr. Few’s exclusive representative in negotiating
16    the terms and conditions of his employment.
17            60.   Under color of state law, UTLA has acted as Mr. Few’s exclusive
18    representative in negotiating the terms and conditions of his employment.
19            61.   Under color of state law, LAUSD has negotiated the terms and conditions of
20    Mr. Few’s employment with UTLA.
21            62.   This designation compels Mr. Few to associate with the union and, through its
22    representation of him, it compels him to petition the government with a certain viewpoint,
23    despite that viewpoint being in opposition to Mr. Few’s own goals and priorities for the
24    State of California.
25            63.   The exclusive representative provisions of Cal. Gov’t Code §§ 3543 and
26    3543.1; the requirement that Mr. Few join a union or support it with an agency fee under
27    Cal. Gov’t Code § 3546; the right of a union to control all negotiations regarding not only
28    employment but curricula and other matters of policy under Cal. Gov’t Code § 3543.2; the
         Case No.                               10
30
         COMPLAINT SEEKING DECLARATORY RELIEF, INJUNCTIVE RELIEF, AND DAMAGES FOR
         DEPRIVATION OF FIRST AMENDMENT RIGHTS
31
     Case 2:18-cv-09531-JLS-DFM Document 1 Filed 11/09/18 Page 11 of 13 Page ID #:11



 1    prohibition against Mr. Few speaking for himself as an employee to his employer under
 2    Cal. Gov’t Code § 3543.1(a); and all related provisions are, therefore, an unconstitutional
 3    abridgement of Mr. Few’s right under the First Amendment not to be compelled to associate
 4    with speakers and organizations without his consent.
 5           64.    Under 42 U.S.C. § 1983, Mr. Few is entitled to have Cal. Gov’t Code §§ 3543,
 6    3543.1, 3543.2, and 3546 declared unconstitutional for violating his First Amendment
 7    rights to free speech and freedom of association.
 8                                     PRAYER FOR RELIEF
 9           Mr. Few respectfully requests that the Court:
10                  a.    Declare that limiting the ability of Mr. Few to resign his union
11           membership to a window of time is unconstitutional because he did not provide
12           affirmative consent;
13                  b.    Declare that Mr. Few’s signing of the union card cannot provide a basis
14           for his affirmative consent to waive his First Amendment rights upheld in Janus
15           because such authorization was based on the unconstitutional choice between paying
16           the union as a member or paying the union as a non-member;
17                  c.    Declare that the practice by the Los Angeles Unified School District of
18           withholding union dues from Mr. Few’s paycheck was unconstitutional because Mr.
19           Few did not provide affirmative consent for the school district to do so;
20                  d.    Enjoin the Los Angeles Unified School District from deducting dues
21           from Mr. Few’s paycheck, unless he first provides freely given affirmative consent
22           to such deductions;
23                  e.    Enjoin United Teachers of Los Angeles from collecting dues from Mr.
24           Few, unless he first provides freely given affirmative consent;
25                  f.    Award damages against UTLA for all union dues collected from Mr.
26           Few since the commencement of his employment;
27                  g.    In the alternative, award damages against UTLA for all union dues
28           collected from Mr. Few since June 2, 2018;
         Case No.                                11
30
         COMPLAINT SEEKING DECLARATORY RELIEF, INJUNCTIVE RELIEF, AND DAMAGES FOR
         DEPRIVATION OF FIRST AMENDMENT RIGHTS
31
     Case 2:18-cv-09531-JLS-DFM Document 1 Filed 11/09/18 Page 12 of 13 Page ID #:12



 1                  h.    In the alternative, award damages against UTLA for all union dues
 2           collected from Mr. Few after June 27, 2018;
 3                  i.    Declare that Mr. Few has a constitutional right not to be represented by
 4           a union as his exclusive representative without his affirmative consent;
 5                  j.    Enjoin the Attorney General from enforcing Cal. Gov’t Code §§ 3543,
 6           3543.1 3543.2, and 3546; Cal. Educ. Code §§ 45060 and 45168; and all other
 7           provisions of California law that provide for exclusive representation of and
 8           deduction of dues from employees who do not affirmatively consent to union
 9           membership;
10                  k.    Enjoin UTLA from acting as the exclusive representative of Mr. Few;
11           and
12                  l.    Award any further relief to which Mr. Few may be entitled.
13    Dated: November 9, 2018
14                                           Respectfully submitted,
15                                           /s/ Mark W. Bucher
16
                                             Mark W. Bucher
                                             mark@calpolicycenter.org
17                                           CA S.B.N. # 210474
18
                                             Law Office of Mark W. Bucher
                                             18002 Irvine Blvd., Suite 108
19                                           Tustin, CA 92780-3321
20                                           Phone: 714-313-3706
                                             Fax: 714-573-2297
21

22                                           /s/ Brian Kelsey
                                             Brian Kelsey (Pro Hac Vice To Be Filed)
23                                           bkelsey@libertyjusticecenter.org
24                                           Jeffrey M. Schwab (Pro Hac Vice To Be Filed)
                                             jschwab@libertyjusticecenter.org
25                                           Senior Attorneys
26                                           Liberty Justice Center
                                             190 South LaSalle Street
27                                           Suite 1500
28                                           Chicago, Illinois 60603
         Case No.                                12
30
         COMPLAINT SEEKING DECLARATORY RELIEF, INJUNCTIVE RELIEF, AND DAMAGES FOR
         DEPRIVATION OF FIRST AMENDMENT RIGHTS
31
     Case 2:18-cv-09531-JLS-DFM Document 1 Filed 11/09/18 Page 13 of 13 Page ID #:13



 1                                         Phone: 312-263-7668
 2
                                           Fax: 312-263-7702

 3                                         Attorneys for Plaintiff
 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28
         Case No.                             13
30
         COMPLAINT SEEKING DECLARATORY RELIEF, INJUNCTIVE RELIEF, AND DAMAGES FOR
         DEPRIVATION OF FIRST AMENDMENT RIGHTS
31
